   Case 1:19-mj-00053-JFA Document 6 Filed 02/13/19 Page 1 of 3 PageID# 11



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )
      v.                                       )      Case No. 1:19MJ53
                                               )      Hon. John F. Anderson
PETER D. QUINN,                                )      Status Hr’g: February 19, 2019
                                               )
                    Defendant.                 )


               DEFENDANT’S MOTION TO WAIVE APPEARANCE

      COMES NOW the defendant, Peter D. Quinn, by counsel, Elizabeth Mullin,

Assistant Federal Public Defender, and respectfully requests that this Honorable

Court permit him to be absent from the status hearing scheduled for February 19,

2019. In support of this motion, Mr. Quinn states as follows:

      1.     On February 4, 2019, Mr. Quinn appeared for his Initial Appearance,

and the Court scheduled a status hearing for February 19, 2019. Dkt. Nos. 3, 4. After

the hearing, the Court appointed the undersigned to represent Mr. Quinn.

      2.     Mr. Quinn lives in Torrington, Connecticut. It is time consuming and

costly for him to travel back and forth to Alexandria. The undersigned will appear

on behalf of Mr. Quinn on February 19, 2019, and can adequately represent his

interests at that hearing without his presence.

      3.     The undersigned has also reviewed with Mr. Quinn his right to be

present at all proceedings in this case, and his right to voluntarily be absent from the
   Case 1:19-mj-00053-JFA Document 6 Filed 02/13/19 Page 2 of 3 PageID# 12



status hearing, pursuant to Rule 43 of the Federal Rules of Criminal Procedure. Mr.

Quinn waives his right to be present at the status hearing on February 19.

      4.     The undersigned has reviewed the charge in the Criminal Information

with Mr. Quinn, and his right to insist on proceeding before a District Court. Mr.

Quinn consents to proceed before a Magistrate Court.

      5.     The undersigned has conferred with the government and it has no

objection to this request. The parties are prepared to select a trial date in Mr. Quinn’s

absence.

      6.     A signed waiver of right to be present is attached.

                                    CONCLUSION

      For the foregoing reasons, Mr. Quinn respectfully requests that the Court

excuse his appearance at the status hearing on February 19, 2019, or, in the

alternative, continue the status hearing to another date convenient to the Court.

      Respectfully submitted,

                                                             /s/
                                               _____________________________
                                               Elizabeth A. Mullin
                                               Virginia Bar # 86668
                                               Office of the Federal Public Defender
                                               1650 King Street, Suite 500
                                               Alexandria, VA 22314
                                               (703) 600-0879 (telephone)
                                               (703) 600-0880 (facsimile)
                                               Elizabeth_mullin@fd.org




                                           2
   Case 1:19-mj-00053-JFA Document 6 Filed 02/13/19 Page 3 of 3 PageID# 13



                            CERTIFICATE OF SERVICE
       I hereby certify that on February 13, 2019, I will electronically file the

foregoing with the Clerk of court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


              Elizabeth Banger
              United States Attorney’s Office
              2100 Jamieson Avenue
              Alexandria, VA 22314

       Pursuant to the Electronic Case Filing Policies and Procedures, a courtesy copy

of the forgoing pleading will be delivered to Chambers within one business day of the

electronic filing.


                                                      /s/
                                                ________________________
                                                Elizabeth Mullin
                                                Virginia Bar # 86669




                                           3
